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  CULPEPPER IP, LLLC
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                        UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

                                        )
  In re Subpoena to                     )     19-mc-275
                                        )
  Hawaiian Telcom                       )

                   DECLARATION PURSUANT TO 17 U.S.C. 512(h)

        KERRY S. CULPEPPER, hereby declares under penalty of law that the

  following is true and correct:

        1.     I am an attorney licensed to practice law in Hawai’i and represent

  Definition Delaware, LLC; and Wicked Nevada, LLC the owners of the copyright in

  the motion pictures; The Professor and the Madman; and Extremely Wicked Shockingly

  Evil and Vile.

        2.     This declaration is made in support of the accompanying subpoena,

  pursuant to 17 USC 512(h)(2)(C).

        3.     The purpose of the accompanying Subpoena is to obtain the identity of

  the alleged copyright infringer(s) who is/are identified at the Internet Protocol

  addresses in the notice(s) contained in Exhibit 1A and Exhibit 1B to the Subpoena.

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  The information obtained will be used only for the purpose of protecting the rights

  granted to the copyright owner(s).

        I declare under penalty of perjury that the foregoing is true and correct.


        DATED: Kailua-Kona, Hawaii, August 07, 2019.

                                  CULPEPPER IP, LLLC


                                  /s/ Kerry S. Culpepper
                                  Kerry S. Culpepper

                                  Attorney for Owner/Requestor




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